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                                         Legal Resume of
                                           Gordon Ball

Focusing on Consumer and                                              Suite 750, 550 Main Avenue
Antitrust Class Actions                                               Knoxville, Tennessee 37902

                                              Biography

       Gordon Ball is a licensed Tennessee attorney whose practice focuses on consumer rights

and antitrust class actions. Mr. Ball was born in Cosby, Tennessee. He graduated from East

Tennessee State University with a Bachelor of Science degree in 1970, and graduated from the

Cecil C. Humphreys School of Law at Memphis State University in 1974. Mr. Ball entered the

private practice of law the following year.

       Mr. Ball has been admitted to or appeared before federal and state courts in Tennessee,

Alabama, Arizona, California, Florida, Georgia, Indiana, Illinois, Kansas, Kentucky, Maryland,

Michigan, New Mexico, North Carolina, North Dakota, Oklahoma, South Dakota, West Virginia,

and the District of Columbia.

       In the late 1970's, Mr. Ball served as an Assistant United States District Attorney for the

Eastern District of Tennessee. In 1977, he served as a delegate to the Tennessee Constitutional

Convention. For several years after he returned to private practice, he specialized in the defense

of Awhite-collar@ federal prosecutions. In 1981, Mr. Ball was lead counsel in the case of United

States v. Sisk, et al (aka, the APardons and Paroles@ cases). His client was acquitted after a six-

week trial. In 1986-87, Mr. Ball was co-lead counsel in the federal bank fraud prosecution of

brothers Jake and C.H. Butcher, Jr., who had created a banking empire (United American Bank

and C & C Bank) in East Tennessee. In U.S. v. C.H. Butcher, et al., Mr. Ball was the only

defense attorney to secure two Anot guilty@ jury verdicts.

       Mr. Ball first became involved in major class action litigation in 1988, with Shults v.
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Champion International Corporation. Mr. Ball and his co-counsel represented approximately

2600 landowners against a paper company who had polluted the Pigeon River for nearly eighty

years. Mr. Ball and his co-counsel litigated against one of the country=s largest law firms and were

successful in recovering $6.5 million for the landowners.

        For over fifteen years, Mr. Ball has been a pioneer in plaintiff=s class action lawsuits on

behalf of victims of abuse by powerful corporations. Mr. Ball has a long record of successful

litigation on behalf of both individuals and classes, particularly in cases involving antitrust

violations such as monopolization and price-fixing. Mr. Ball=s aggregate multi-billion dollar

recoveries have included cases against oil companies, telecommunications companies, health care

companies, insurance companies, pharmaceutical companies, banks, auto manufacturers, record

manufacturers, paper manufacturers, vitamin makers, boat manufacturers, stucco manufacturers,

and supermarket chains. Mr. Ball and co-counsel are currently engaged in courtroom antitrust

and consumer rights cases against credit card companies, electronics manufacturers, cigarette

manufacturers and many others.

        Mr. Ball has won a national reputation for fighting on behalf of American consumers by

achieving recoveries in cases that other law firms did not want to handle. Several of the

groundbreaking cases that Mr. Ball and his co-counsel have litigated have resulted in landmark

decisions on previously untried or unsettled issues involving price-fixing and consumer rights.

                          An Experienced Class Action Litigation Firm

        A lone consumer is often powerless against a powerful corporation. By creating a group

or class, individuals can join together enhance their ability to assert their rights and challenge

corporations who often have larger resources. As the premier class action law firm in Tennessee-

-and one of the premier class action firms in the South—Ball & Scott, and Mr. Ball in particular,
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specialize in cases concerning Antitrust Actions, Consumer Protection & Product Liability, and

Heathcare Fraud. Mr. Ball has been involved as lead or co-counsel in dozens of class actions

which have resulted in billions of dollars in recoveries for consumers. Mr. Ball has represented

(or is currently representing) consumers in the following class actions:


       1.      Stinnett v. BellSouth Telecommunications
               ($45,000,000.00 settlement);

       2.      Land v. United Tel. - Southeast
               ($5,000,000.00 settlement);

       3.      In re Travel Agency Com=n Antitrust Litig.
               ($70,000,000.00 settlement);

       4.      Lowe v. Johnson City Medical Center Hospital
               ($1,500,000.00 settlement);

       5.      Shelton v. Blue Cross and Blue Shield of Tennessee
               ($4,000,000.00 settlement);

       6.      Nabors v. General Motors
               (General Motors nationwide settlement approved in Louisiana with
                settlement benefit to 6 million owners of GM vehicles);

       7.      Cox, et al v. Shell Oil Co.
               ($950,000,000.00 settlement)(product defect)
               (Largest property damage settlement in U.S. history);

       8.      Blake v. Abbott Laboratories, Inc.
               ($62,000,000.00 settlement) (price-fixing of infant formula);

       9.      Patrick v. Liberty Health Care Corp.
               ($245,000.00 settlement) (unpaid sick leave);

       10.     Hagy v. Sprint Cellular
               ($4,000,000 settlement approved);

       11.     Sandpiper Village Condominium Ass=n v. Louisiana-Pacific Corp.,
               ($375,000,000.00 settlement) (defective hardboard siding;);
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12.   Ottinger v. EMI Distribution, Inc.
      ($65,000,000.00 nationwide settlement approved)
      (price-fixing of compact discs);

13.   Sweet v. Ford Motor Co.
      ($30,000,000 nationwide settlement approved as part of California settlement)
      (multi-state class certified) (product defect);

14.   Friedman v. Union Bank of Switzerland, et al.
      ($1,250,000,000,000.00 settlement);

15.   Fox v. American Cyanamid Co.
      ($15,000,000.00 settlement) (vertical price-fixing conspiracy in pesticide market);

16.   Wilson v. Chesapeake Corp., et al.
      ($600,000 Tennessee-only settlement) (horizontal price-fixing conspiracy in
      commercial tissue products market);

17.   Ferguson v. Columbia/HCA Healthcare Corp.
      ($5,000,000 settlement) (overcharges in healthcare industry);

19.   Teeter v. State Farm Insurance Co.
      ($1.2 Billion Jury Verdict - Affirmed by Illinois Court of Appeals. Presently
      pending before the Illinois Supreme Court);

20.   Freeman v. Champion International Corporation
      ($2,400,000 settlement) (nuisance action which alleged unlawful pollution of
      Pigeon River in Tennessee);

21.   McCampbell v. F. Hoffman - LaRoche Ltd., et al.
      ($10,000,000 Tennessee settlement approved) (price-fixing conspiracy in vitamins
      market);

22.   Milligan v. Food Lion Corp.
      ($3,000,000 nationwide settlement) (unfair or deceptive practices in sales tax
      charges);

23.   Hunter v. Bank One
      ($25,000,000 nationwide settlement) (class certified) (deceptive bank financing
      practices);

24.   Carter v. First Tennessee Bank
      ($7,000,000 nationwide settlement) (class certified) (deceptive bank financing
      practices);
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25.   Posey v. Dryvit Corp.
      ($50,000,000 nationwide settlement) (product defect in synthetic stucco);

26.   Couch v. Brunswick Corporation
      (Nationwide settlement for consumers valued at $20,000,000) (monopolization of
      inboard and stern drive marine engine market);

27.   Coleman Properties, LLC v. AFG Industries
      (Tennessee settlement) (horizontal price-fixing conspiracy in flat glass industry);

28.   Sams v. Hoechst Aktiengesellschafat, et al.
      (Nationwide settlement approved) (conspiracy in Cardizem CD market);

29.   Beaudreau v. General Motors Corp.
      (Appeal pending) (unfair or deceptive automobile financing practices);

30.   Davis v. United States Tobacco Co., et al.
      (Multi-state settlement) (unfair restraint in trade in smokeless tobacco market);

31.   Freeman v. Blue Ridge Paper Co.
      (Nuisance action filed in 2003 against paper company for polluting Pigeon River in
      Tennessee);

32.   Lundsford v. Callaway Golf. Co.
      (Antitrust action for anti-competitive conduct in market for golf club clubs);

33.   Flanary v. Carl Gregory Dodge of Johnson City Tennessee LLC
      (Appeal pending) (Deceptive trade practices action against car dealer for illegal
      Aprocessing fee@ or Aadministrative charges@);

34.   Beaudreau v. Larry Hill Pontiac
      (Deceptive trade practices action against car dealer for illegal Adealer participation@
      charges) (Appeal pending);

35.   Randolph v. Schering-Plough Corporation
      (Pending) (Antitrust action against pharmaceutical companies for agreeing to keep
      cheaper generic bio-equivalent drug of K-Dur 20 off the market);

36.   Gribble v. Glaxo Wellcome Inc.
      (Pending) (Deceptive trade practices action against pharmaceutical companies for
      marketing through false representations the safety attributes and side effects of the
      drug, Lotronex);

37.   Turnage v. Norfolk Southern Corporation
      (Pending) (Nuisance action against railroad for injunctive relief and damages
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               resulting from a train derailment in Blount and Knox County, Tennessee);

       38.     Benson v. Nan Ya Plastics Corp.
               (Pending) (Price-fixing action against manufacturers of polyester staples);

       39.     Raines v. Pharmacia Corporation
               (Pending) (Price-fixing action against manufacturers of weed killers Roundup7 and
               Touchdown7);

       40.     Daugherty v. Sony Electronics, Inc.
               (Pending) (Defective product/breach of warranty/deceptive trade practices action
               against manufacturer of DVD player);

       41.     Bennett v. Visa U.S.A. Inc. and MasterCard International Inc.
               (Pending) (Antitrust action against credit card/debit card companies for
               overcharges paid by consumers as a result of attempted market monopolization);

       42.     Silvey v. WorldCom Inc.
               (Pending) (Action against WorldCom and executives for violating Tennessee
               Securities Act by overstating revenue and stock value);

       43.     Spartanburg Regional Healthcare System v. Hillenbrand Industries Inc.
               (Pending) (Antitrust action against Hill-Rom for attempting to monopolize
               specialty hospital bed market and illegally tying products);

       44.     Sutton v. Stolt-Nielson Transportation Group Ltd.
               (Pending) (Antitrust action against shipping companies for bid-rigging/price-fixing
               transportation charges of liquid chemicals);

       45.     Johnson v. General Motors Corp., et al
               (Pending) (Antitrust action against every major car manufacturer)

       46.     Sutton v. Pfizer Inc., et al
               (Pending) (false representations made to FDA to obtain approval of Neurontin)

                             Significant Settlements or Judgments

        Finally, Mr. Ball has also served as one of the counsel in several major consumer and
antitrust class actions, including:

       $       Cox v. Shell Oil Company, et al. This lawsuit filed by Mr. Ball and a number of
               other counsel filed this case in 1995 charging Shell Oil Company, E.I. du Pont de
               Nemours, and Hoescht Celanese with manufacturing and marketing defective
               polybutylene pipes and plumbing systems. The settlement provided a minimum of
               $950 million settlement in relief and is the largest class action settlement of its kind
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               in U. S. history.

       $       Friedman v. Union Bank of Switzerland, et al. Mr. Ball, along with co-counsel,
               represented a class of victims of the Holocaust whose assets were wrongfully
               retained by private Swiss Banks during or after World War II. The case raised
               novel issues of international banking law and international human rights law. A
               settlement was reached with the Swiss Banks in the sum of $1.2 Billion. Mr. Ball,
               and many of his co-counsel waived their attorney=s fees.

       $       Infant Formula Consumer Antitrust Litigation. Mr. Ball, along with co-counsel,
               instituted class actions in multiple state courts against three companies who
               conspired to drive up the price of infant formula. The cases resulted in an
               aggregate settlement of $64,000,000.00. Foremost among the cases was Blake v.
               Abbott Laboratories, Civil Action Number L-8950 (Circuit Court, Blount Cty.,
               Tennessee). Blake was the first opinion in the history of Tennessee jurisprudence
               granting indirect purchasers a private right of action under state antitrust and
               consumer protection laws.

                                        Honors & Awards


       In the late 1980's, Mr. Ball was selected to be included in the publication AThe Best

Lawyers in America@ and has been included in every subsequent publication since 1989. In 1997,

Mr. Ball was a recipient of a Public Justice Achievement Award by the Trial Lawyers for Public

Justice for his work on behalf of consumers in the polybutylene pipe product liability litigation,

which resulted in an unprecedented settlement providing a minimum of $950 million in relief and a

potentially unlimited maximum recovery for property owners.




Telephone: 865.525.7028 ! Telecopier: 865.525.4679 ! gball@ballandscott.com
